979 F.2d 848
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James W. MATTHEWS, Plaintiff-Appellant,v.DEPARTMENT OF CORRECTIONS, State of North Carolina;  AllenS. Harper, Defendants-Appellees.
    No. 92-1869.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 26, 1992Decided:  November 19, 1992
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.
      James W. Matthews, Appellant Pro Se.
      Sylvia Hargett Thibaut, Assistant Attorney General, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and RUSSELL and WIDENER, Circuit Judges.
      PER CURIAM:
    
    
      1
      James W. Matthews appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Matthews v. Dep't of Corrections, No. CA-91-771 (E.D.N.C. Apr. 9, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    